                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

CAITLIN O’CONNOR,                                )
                                                 )   Case No. 3:20-cv-00628
         Plaintiff,                              )
                                                 )   District Judge Richardson
v.                                               )
                                                 )   Magistrate Judge Frensley
THE LAMPO GROUP, LLC,                            )
                                                 )   Jury Demand
         Defendant.                              )

                DEFENDANT’S NOTICE OF FILING UNPUBLISHED CASES

         Defendant, The Lampo Group, LLC, by and through the undersigned counsel, files copies

of the following unpublished cases cited in Defendant’s Response to Plaintiff’s Motion to Seal

(Doc. #82):

     •   Exhibit 1 - Durbin v. C&L Tiling Inc., 2019 BL 356831 (W.D. Ky. Sept. 23, 2019)

     •   Exhibit 2 - Walsh v. Doner Int’l Ltd., 2020 BL 298130 (E.D. Mich. Aug. 07, 2020)

     •   Exhibit 3 - Kestenbaum v. Globus, 2019 BL 100386 (NY Sup. Ct. Mar. 15, 2019)

                                             Respectfully submitted,


                                             /s/Daniel Crowell
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                                CERTIFICATE OF SERVICE

        I certify that, on January 4, 2022, I filed Defendant’s Notice of Filing Unpublished Cases

via the Court’s electronic filing system, which will automatically notify and send a copy of that

filing to:

Heather Moore Collins
Anne Bennett Hunter
Ashley Shoemaker Walter
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                                             Attorney for Defendant




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